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                                                                 EXHIBIT A
                                               Lordstown Motors Corp., et al. - CASE NO: 23-10831
                                                         DETAIL OF TIME ENTRIES
                                       FOR THE PERIOD FROM DECEMBER 1, 2023 TO DECEMBER 31, 2023

  PROFESSIONAL            DATE                                           DESCRIPTION                                              HOURS   RATE      AMOUNT
Plan of Reorganization/Disclosure Statement
Robert Winning          12/1/2023 Attention to plan supplement                                                                      1.2    $1,150     $1,380.00
Robert Winning          12/4/2023 Call with B. Gallagher (M3) re: transition planning                                               0.3    $1,150       $345.00
Robert Winning          12/5/2023 Call with D. Turetsky (WC) re: confirmation issues                                                0.4    $1,150       $460.00
Robert Winning          12/6/2023 Analysis of post-effective date spending                                                          1.4    $1,150     $1,610.00
Robert Winning          12/8/2023 Analysis of transition matters following effective date                                           2.4    $1,150     $2,760.00
Robert Winning         12/11/2023 Attention to matters re: records retention                                                        0.7    $1,150       $805.00
Robert Winning         12/11/2023 Analysis of open issues for plan confirmation                                                     2.2    $1,150     $2,530.00
Robert Winning         12/12/2023 Review information re: go forward vendors                                                         1.3    $1,150     $1,495.00
Robert Winning         12/15/2023 Attention to matters re: data and records retention                                               0.8    $1,150       $920.00
                                                                                Plan of Reorganization/Disclosure Statement        10.7              $12,305.00

Case Administration
Matthew Altman          12/14/2023   Prepare submission to court on rate increases                                                 1.0       $550       $550.00
Matthew Altman          12/15/2023   Review rate increase notice for docket                                                        1.0       $550       $550.00
                                                                                                          Case Administration      2.0                $1,100.00

General Correspondence with Debtor & Debtors' Professionals
Matthew Altman         12/7/2023 Participate in meeting with J. Boffi (M3), E. Hammes (Silverman), S. Kohler (Silverman)
                                                                                                                                   0.7       $550      $385.00
                                   and others re: claims reconciliation
Matthew Altman         12/7/2023 Participate in meeting with E. Hammes (Silverman) to discuss the waterfall                        0.5       $550      $275.00
                                                             General Correspondence with Debtor & Debtors' Professionals           1.2                 $660.00

Financial & Operational Matters
Matthew Altman          12/1/2023    Review refreshed waterfall analysis from Debtors                                              0.5      $550        $275.00
Matthew Altman          12/1/2023    Analyze M3 adjusted waterfall model                                                           1.3      $550        $715.00
Matthew Altman          12/1/2023    Analyze post-emergence budget from Company                                                    0.7      $550        $385.00
Matthew Altman          12/1/2023    Review refreshed waterfall analysis from debtors                                              2.1      $550      $1,155.00
Matthew Altman          12/1/2023    Analyze professional fee accrual in waterfall analysis                                        1.2      $550        $660.00
Jonathan Boffi          12/1/2023    Participate in call with M. Altman (M3) on liquidation analysis                               0.4      $945        $378.00
Robert Winning          12/1/2023    Review materials re: claims reconciliation status                                             1.7     $1,150     $1,955.00
Jonathan Boffi          12/4/2023    Analyze waterfall recovery analysis                                                           1.4      $945      $1,323.00
Matthew Altman          12/4/2023    Create diligence list for claims and waterfall                                                1.0      $550        $550.00
Robert Winning          12/4/2023    Review updated waterfall analysis                                                             1.3     $1,150     $1,495.00
Matthew Altman          12/4/2023    Analyze waterfall recovery analysis                                                           1.1      $550        $605.00
William Gallagher       12/5/2023    Review 3Q 2023 10Q, amended Chapter 11 Plan and related Disclosure Statement                  2.5     $1,150     $2,875.00
William Gallagher       12/5/2023    Continue to review 3Q 2023 10Q, amended Chapter 11 Plan and related Disclosure
                                                                                                                                   1.5     $1,150     $1,725.00
                                     Statement
Matthew Altman          12/5/2023    Analyze and review recovery analysis for updated claims data                                  1.2      $550        $660.00
Matthew Altman          12/5/2023    Review updated cash flow forecast and waterfall from debtors                                  1.2      $550        $660.00
Matthew Altman          12/5/2023    Review contracts for post effective date from debtors                                         0.3      $550        $165.00
Jonathan Boffi          12/5/2023    Analyze waterfall recovery analysis                                                           2.1      $945      $1,984.50
Matthew Altman          12/6/2023    Analyze updated cash flow forecast and waterfall analysis                                     2.0      $550      $1,100.00
Matthew Altman          12/6/2023    Review contract assumptions and termination clauses                                           1.0      $550        $550.00
William Gallagher       12/6/2023    review Lordstown litigation and claims against Foxconn                                        4.0     $1,150     $4,600.00
Jonathan Boffi          12/6/2023    Review revised waterfall analysis (1.1); review assumed contract schedule (0.3)               1.4      $945      $1,323.00
Jonathan Boffi          12/7/2023    Analyze prepaid analysis                                                                      1.7      $945      $1,606.50
William Gallagher       12/7/2023    Review of pleading and motions in complaint filed against Foxconn and Foxconn's answers
                                                                                                                                   3.0     $1,150     $3,450.00
William Gallagher        12/8/2023   Review litigation with Foxconn                                                                2.0     $1,150     $2,300.00
Matthew Altman          12/11/2023   Prepare updates to cash flow forecast re: confirmation dates                                  2.7      $550      $1,485.00
William Gallagher       12/11/2023   Work related to agenda for the board meeting for the emerged company later in December
                                                                                                                                   1.0     $1,150     $1,150.00
Matthew Altman          12/12/2023   Prepare updates re: cash flow forecast                                                        1.2       $550      $660.00
William Gallagher       12/12/2023   Call to discuss 382 ownership study and investment strategies and call to discuss D&O
                                                                                                                                   1.0     $1,150     $1,150.00
                                     insurance for emergent company
William Gallagher       12/15/2023   Participate in call with Brown Rudnick and LMC to review various open items related to
                                     post emergence by laws and charter issues including trading restrictions, officer
                                                                                                                                   1.3     $1,150     $1,495.00
                                     requirements, mailing address, bank account signatory, stock registration and other issues

William Gallagher       12/21/2023   Attention to matters re: work related to D&O insurance for emergent company                   0.3     $1,150      $345.00
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  PROFESSIONAL            DATE                                            DESCRIPTION                                            HOURS   RATE      AMOUNT
William Gallagher       12/22/2023   Calls with Rob Winning (M3 Partners), Adam Kroll and John Cushing (Brown Rudnick) to
                                     discuss various emergence issues including 10-K, stock plan / issuance details and follow    2.5     $1,150     $2,875.00
                                     up communications.
                                                                                            Financial & Operational Matters       46.6              $41,655.00

General Correspondence with Other Professionals
William Gallagher     12/1/2023 Participate in weekly OEC meeting with R. Winning (M3), M. Altman (M3), R. Stark
                                                                                                                                  1.0     $1,150     $1,150.00
                                  (Brown Rudnick), B. Silverberg (Brown Rudnick), and others
Matthew Altman        12/1/2023 Participate in weekly OEC meeting with R. Winning (M3), W. Gallagher (M3), R. Stark
                                                                                                                                  1.3       $550      $715.00
                                  (Brown Rudnick), B. Silverberg (Brown Rudnick), and others
Matthew Altman        12/1/2023 Participate in call with J. Boffi (M3) on liquidation analysis                                    0.4       $550      $220.00
Robert Winning        12/1/2023 Participate in weekly OEC meeting with W. Gallagher (M3), R. Stark (Brown Rudnick), B.
                                  Silverberg (Brown Rudnick), and others re: plan supplement and active litigation, among         1.3     $1,150     $1,495.00
                                  other matters
Matthew Altman        12/5/2023 Analyze waterfall recovery analysis                                                               1.1       $550       $605.00
Robert Winning       12/11/2023 Call w. B. Silverberg (Brown Rudnick) re: plan issues                                             0.4     $1,150       $460.00
Jonathan Boffi       12/14/2023 Correspondence re: case updates                                                                   0.5       $945       $472.50
Jonathan Boffi       12/15/2023 Correspondence re: case updates                                                                   0.3       $945       $283.50
                                                                         General Correspondence with Other Professionals          6.3                $5,401.00

Financing Matters (Cash Budget, Exit, Other)
Jonathan Boffi        12/11/2023 Analyze cost of delayed confirmation hearing                                                     1.2       $945     $1,134.00
Jonathan Boffi        12/12/2023 Prepare updated forecast reflecting plan delays                                                  3.6       $945     $3,402.00
Matthew Altman        12/12/2023 Analyze cash flow forecast: re professional fee variance analysis                                1.0       $550       $550.00
Jonathan Boffi        12/12/2023 Review 13-week budget (1.0) ; review professional fee schedule (2.1)                             3.1       $945     $2,929.50
Matthew Altman        12/20/2023 Review updated cash flow forecast                                                                0.7       $550       $385.00
                                                                             Financing Matters (Cash Budget, Exit, Other)         9.6                $8,400.50

Claims/Liabilities Subject to Compromise
Matthew Altman           12/4/2023 Analyze disputed claims                                                                         2.1      $550     $1,155.00
Jonathan Boffi           12/4/2023 Review claim reconciliation materials and status                                                1.8      $945     $1,701.00
Jonathan Boffi           12/5/2023 Analyze claim reconciliation materials and status                                               1.2      $945     $1,134.00
Matthew Altman           12/5/2023 Review claims and prepare reconciliation for waterfall                                          2.0      $550     $1,100.00
Matthew Altman           12/6/2023 Prepare diligence list and open questions list for debtors on high-value claims                 1.5      $550       $825.00
Matthew Altman           12/6/2023 Analyze claims for potential claims objections                                                  0.6      $550       $330.00
Jonathan Boffi           12/6/2023 Analyze Lordstown claim estimates; create diligence list                                        2.7      $945     $2,551.50
Matthew Altman           12/6/2023 Analyze and review claims analysis files                                                        1.2      $550       $660.00
Matthew Altman           12/7/2023 Analyze claims re: claims reconciliation                                                        2.3      $550     $1,265.00
Jonathan Boffi           12/7/2023 Analyze Lordstown claim estimates (0.5); call with Silverman re: same (0.7)                     1.2      $945     $1,134.00
                                                                                     Claims/Liabilities Subject to Compromise     16.6              $11,855.50

Tax Matters
William Gallagher        12/4/2023   Review section 382 information related to the emerging company                               1.0     $1,150     $1,150.00
William Gallagher       12/15/2023   Call with EY to review 382 ownership shift study and follow up call with Brown Rudnick
                                                                                                                                  1.0     $1,150     $1,150.00

                                                                                                                 Tax Matters      2.0                $2,300.00

Fee Application
Matthew Altman           12/5/2023   Prepare fee application exibits                                                              0.5       $550      $275.00
                                                                                                             Fee Application      0.5                 $275.00

Contracts
Robert Winning           12/5/2023   Analysis re: contract assumptions                                                            1.2     $1,150     $1,380.00
Matthew Altman          12/11/2023   Prepare diligence items re: contract assumptions                                             1.5       $550       $825.00
                                                                                                                                  2.7                $2,205.00

Insurance Matters
William Gallagher        12/6/2023   Review quotes provided by Aon for go forward D&O coverage                                    0.8     $1,150      $920.00
                                                                                                           Insurance Matters      0.8                 $920.00
                                                                                                        Hours and Fees Total      99.0              $87,077.00
